LMS Glossary                                                                        https://hpdonline hpdnyc.org/HPDonline/GlossaryLMS.aspx
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                                     Glossary of Terms for Litigation Status Report
        Tenant Action                             Cases commenced by one or more residential tenants against their
                                                  landlords (and naming HPD as a party) seeking an order to correct
                                                  violations and civil penalties for failure to timely correct violations.
        Tenant Action-Harassment                  Cases against owners commenced by one or more residential
                                                  lawful occupant(s)/tenants who allege that conduct and/or
                                                  conditions have occurred which constitutes harassment. In such
                                                  cases, the lawful occupant(s)/tenants seek an order directing the
                                                  owners to cease harassing the lawful occupant(s)/tenants and,
                                                  where appropriate, an award of civil penalties for the harassment
                                                  that has occurred.
        Comprehensive cases                       HPD seeks the correction of all outstanding violations in a building
                                                  and/or civil penalties for owners’ failure to timely certify correction
                                                  of violations; for false certification of correction of violations; and/or
                                                  for failure to file a Multiple Dwelling Registration
        Comprehensive Supplemental cases          Cases in which HPD seeks a finding of contempt and/or additional
                                                  civil penalties against landlords who have failed to comply with
                                                  orders to correct violations.
        Heat and Hot Water cases                  In these cases HPD seeks orders directing that heat and/or hot
                                                  water be provided and maintained. Civil penalties may also be
                                                  assessed and, if the owner is particularly recalcitrant. HPD also
                                                  offers landlords with first-time heat and hot water violations the
                                                  opportunity to certify the correction of the violations and pay a fine
                                                  in lieu of going to court.
        Heat and Hot Water Supplemental cases Cases in which HPD seeks a finding of contempt and/or additional
                                                  civil penalties against landlords who have failed to comply with
                                                  orders to provide heat and/or hot water. Contempt sanctions
                                                  including incarceration may be imposed.
        False Certification Non-Lead              HPD commences false certification cases, where the owners have
                                                  falsely certified correction of violations issued by the Department.

        Lead False Certification                       HPD commences false certification cases, where the owners have
                                                       falsely certified correction of lead paint violations issued pursuant to
                                                       Local Law 1 of 2004 by the Department.
        Access Warrant Lead                            HPD seeks access warrants based upon violations issued pursuant
                                                       to Local Law 1 of 2004 by the Department of Health and Mental
                                                       Hygiene or HPD, where owners have denied access to HPD
                                                       inspectors to inspect for the presence of lead paint in buildings or to
                                                       contractors and crews sent by HPD's Emergency Service Bureau to
                                                       correct overdue lead paint hazard violations.

        Access Warrant Non-Lead                        HPD seeks access warrants based upon violations issued where
                                                       owners have denied access to HPD inspectors or to contractors
                                                       and crews sent by HPD's Emergency Service Bureau to correct the
                                                       hazardous condition.
        Judgments                                      Formal decisions made by the courts following court cases.
                                                       a. Default Judgments –Judgments entered for an order and/or civil
                                                       penalties upon default where there was no appearance in court by
                                                       the required respondent(s).
                                                       b. Judgments after Trial – Judgments awarded by the Court after a
                                                       trial and presentation of the evidence.
                                                       c. Judgments after Payment Default – Judgments that are imposed
                                                       after a payment schedule from settlements or consent orders was
                                                       violated.
        Settlements or Consent Orders                  Stipulations or Orders negotiated by the parties involved in a case
                                                       that were so ordered by a judge.
        Judgment Enforcement                           When the Court issues a judgment against the owners of a building
                                                       awarding civil penalties to HPD and the owners do not pay the
                                                       amount due, HPD undertakes a variety of methods to collect the
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                                            money due. The actions that HPD takes are called judgment
                                            enforcement.
        7A Cases                            HPD also brings litigation to have Article 7A Administrators
                                            appointed to buildings. The goal of the 7A program is to improve
                                            the quality of life for residential tenants living in buildings that have
                                            experienced severe decay, harassment and/or a lack of services
                                            because of landlord actions, neglect or abandonment. HLD
                                            attorneys and/or tenants seek to have the Court appoint 7A
                                            Administrators who will have interim management control, oversee
                                            required repairs to privately-owned buildings, and obtain Court
                                            authorization for HPD-funded repairs. HLD also represents HPD
                                            when the owner seeks to have the 7A Administrator discharged
                                            and the building returned to the owner’s control.
        CONH                                Before applying to the Department of Buildings for a permit to
                                            demolish or reconfigure some buildings, including single room
                                            occupancy multiple dwellings and some multiple dwellings in
                                            several zoning districts, the owner must obtain a Certification of No
                                            Harassment (“CONH”) from HPD. The owner submits an
                                            application and HPD investigates and determines whether to issue
                                            a CONH. If HPD determines that there is reasonable cause to
                                            believe that harassment occurred, a hearing is held before the
                                            Office of Administrative Trials and Hearings ("OATH"). After OATH
                                            issues its findings and recommendation, HPD determines whether
                                            to issue a CONH. A finding of harassment prevents the owner from
                                            obtaining certain types of demolition and alteration permits for three
                                            years in the case of single room occupancy multiple dwellings and
                                            permanently (unless the owner complies with an affordable housing
                                            requirement) in the case of other properties.
        Harassment Finding after Inquest    Judgments entered for an order and/or civil penalties upon default
                                            where there was no appearance in court by the required
                                            respondent(s). If any of these judgments are vacated by the Court,
                                            they will be removed from this list.
        Harassment Finding after Trial      Judgments awarded by the Court after a trial and presentation of
                                            the evidence.
        No Harassment Finding               A determination by the Court that the lawful occupant(s)/tenants
                                            has/have not properly alleged facts and/or presented sufficient
                                            evidence that harassment occurred.
        Finding Date                        The date that the decision was made in court.
        Harassment Penalty                  The penalty awarded by the Court when harassment is found.
        Case Start Date                     Date on which the case was started in Court.
        Penalties                           The penalties awarded by the Court in the case when harassment
                                            is found. This amount includes all penalties, including harassment
                                            penalties.
